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                                           August 20, 2024


Lyle W. Cayce
Office of the Clerk
U.S. Court of Appeals for the Fifth Circuit
F. Edward Hebert Building
600 S. Maestri Place, Suite 115
New Orleans, LA 70130

       RE:     No. 23-40582; Galveston County, et al. v. Honorable Terry Petteway, et al.

Dear Mr. Cayce:

       We recently received Mr. Drecun’s letter informing the Court that its recent motion to
amend or correct the judgment in the above-referenced case is not opposed. This is incorrect.
Appellants intend to file an opposition to the United States’ motion within the time period
permitted under Federal Rule of Appellate Procedure 27(a)(3), or at an earlier time if the Court
so orders.

                                                        Sincerely,



                                                        Angie Olalde




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